                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

 SHAWN SMITH,                                  )
                                               )
               Petitioner,                     )
                                               )
 v.                                            )      Nos.: 3:10-CR-110-TAV-HBG
                                               )            3:13-CV-631-TAV
 UNITED STATES OF AMERICA,                     )
                                               )
               Respondent.                     )


                                          ORDER

        Before the Court now is the Report and Recommendation of Magistrate Judge H.

 Bruce Guyton, entered on January 11, 2017 [Doc. 536] (the “R&R”), which addresses an

 evidentiary hearing in relation to Petitioner’s § 2255 motion [Doc. 414]. In the R&R,

 Judge Guyton recommends that the Court accept Petitioner’s request to withdraw his §

 2255 motion in its entirety, and dismiss the § 2255 motion with prejudice. He also

 recommends that no certificate of appealability issue for this case because Petitioner is no

 longer pursing his constitutional claims of the ineffective assistance of counsel.

        There have been no timely objections to the R&R, and enough time has passed

 since the filing of the R&R to treat any objections as having been waived. See 28 U.S.C.

 § 636(b)(1); Fed. . Civ. P. 72. The R&R states that the Petitioner filed a written motion

 to withdraw his claim that his trial attorney failed to file a requested appeal [Doc. 534].

 At the hearing on that motion, Petitioner made an oral motion to withdraw as well all

 other claims raised in his § 2255 motion. After careful review of the matter, the Court is

 in agreement with Magistrate Judge Guyton’s recommendations, which the Court adopts



Case 3:10-cr-00110-TAV-HBG         Document 539 Filed 01/30/17          Page 1 of 2   PageID
                                         #: 2223
 and incorporates into its ruling. Accordingly, the Court ACCEPTS IN WHOLE the

 R&R [Doc. 536]. The Court accepts Petitioner’s withdrawal of his § 2255 motion in its

 entirety, the Motion to withdraw claim [Doc. 534] is GRANTED, and the § 2255 motion

 [Doc. 414], in it entirety, is hereby DISMISSED WITH PREJUDICE. The Court

 CERTIFIES that any appeal from this action would not be taken in good faith and would

 be totally frivolous. Therefore, this Court DENIES Petitioner leave to proceed in forma

 pauperis on appeal.    See Fed. R. App. P. 24.       Petitioner having failed to make a

 substantial showing of the denial of a constitutional right, a certificate of appealability

 SHALL NOT ISSUE. 28 U.S.C. § 2253; Fed. R. App. P. 22(b). The Clerk of Court is

 DIRECTED to CLOSE Case No. 3:13-CV-631.

       IT IS SO ORDERED.


                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE


 ENTERED AS A JUDGMENT

        s/ Debra C. Poplin
       CLERK OF COURT




                                             2


Case 3:10-cr-00110-TAV-HBG        Document 539 Filed 01/30/17         Page 2 of 2    PageID
                                        #: 2224
